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                     United States Court of Appeals
                                  FOR T HE DISTRICT OF COLUMBIA CIRCUIT
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No. 22-5069                                                       September Term, 2022
                                                                             1:21-cv-00400-APM
                                                                             1:21-cv-00858-APM
                                                                             1:21-cv-00586-APM
                                                         Filed On: February 13, 2023 [1985717]
James Blassingame and Sidney Hemby,

                   Appellees

         v.

Donald J. Trump,

                   Appellant


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Consolidated with 22-7030, 22-7031

         BEFORE:           Srinivasan, Chief Judge; Katsas, Circuit Judge, and Rogers, Senior
                           Circuit Judge

                                              ORDER

       Upon consideration of the government’s unopposed motion for 30-day extension
of time to file a brief amicus curiae, it is

       ORDERED that the motion be granted. The amicus curiae brief of the United
States Department of Justice is now due by 4:00 p.m. on Thursday, March 2, 2023.
Any responsive briefs from the parties are now due by 4:00 p.m. on Thursday, March 16,
2023.

                                             Per Curiam

                                                                FOR THE COURT:
                                                                Mark J. Langer, Clerk

                                                        BY:     /s/
                                                                Michael C. McGrail
                                                                Deputy Clerk
